Case 2:04-cr-20371-SH|\/| Document 56 Filed 06/30/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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05 Jun 30 Pn 2= ¢.z

 

UNITED STATES OF AMERICA,
Plaintiff,
vs.

TERRANCE DAVIS,

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Defendant.

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CR. NO. 04-20371“Ol-Ma

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on June 24, 2005,

the United

States Attorney for this district appearing for the Government and

the defendant, Terrance Davis, appearing in person and with

retained counsel, Mr. James Nowlin.

With leave of the Court, the defendant entered a plea of

guilty to Counts 1 through 5 of the Indictment. Plea colloquy was

held and the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, September 30,

2005 at 9:00 a.m.

The defendant may remain on his present bond pending

sentencing.

':s-VK

ENTERED this the day of June, 2005.

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SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

